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                                          Exhibit A

        Plaintiff                                                         Active Docket
                         Plaintiff Name               Law Firm Name
           ID                                                             Case Number
                                                Aylstock, Witkin, Kreis
1.      396193 Edwards, Andrew                                            3:23-cv-14104
                                                 & Overholtz, PLLC
                                                Aylstock, Witkin, Kreis
2.      394437 Newton, Robert                                             3:23-cv-12555
                                                 & Overholtz, PLLC
                                                Aylstock, Witkin, Kreis
3.      388168 Pertuit, Byron                                             3:23-cv-08519
                                                 & Overholtz, PLLC
                                                Aylstock, Witkin, Kreis
4.      388176 Sanchez, Michael                                           3:23-cv-08779
                                                 & Overholtz, PLLC
                                                Aylstock, Witkin, Kreis
5.      390187 Santos, Celso                                              3:23-cv-11561
                                                 & Overholtz, PLLC
6.      403252 Atwell, Shakir Lee               Ben Martin Law Group      3:23-cv-21432

7.      396395 Bean, Justin Roy                 Ben Martin Law Group      3:23-cv-18939

8.      384294 Black, Aaron Edward              Ben Martin Law Group      3:23-cv-18942

9.      403255 Christiansen, Jeremy Llyod Ben Martin Law Group            3:23-cv-21501

10.     403334 Fickeni, Mcteer Thomas           Ben Martin Law Group      3:23-cv-21417
                    Gieraltowski, Michael
11.     403259                                  Ben Martin Law Group      3:23-cv-21591
                    John
12.     403265 Harley, Anthony Terrell          Ben Martin Law Group      3:23-cv-20884
                    Heaton, Christopher
13.     403268                                  Ben Martin Law Group      3:23-cv-21588
                    Richard
14.     403273 Hogsed, Michael Evan             Ben Martin Law Group      3:23-cv-20890

15.     403275 Hoover, David Weston             Ben Martin Law Group      3:23-cv-20894

16.     403294 Joyner, Bradley Wayne            Ben Martin Law Group      3:23-cv-20904

17.     403299 Kiefer, Christopher Jason        Ben Martin Law Group      3:23-cv-20908

18.     403301 King, Kelvin Lee                 Ben Martin Law Group      3:23-cv-21586
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        Plaintiff                                                   Active Docket
                      Plaintiff Name               Law Firm Name
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19.     403302 King, Seville Randolph        Ben Martin Law Group   3:23-cv-20910

20.     403303 Kinley, Kasey Max             Ben Martin Law Group   3:23-cv-21584

21.     403306 Kopp, Caleb Stephen           Ben Martin Law Group   3:23-cv-21562

22.     403316 Luke, Donald Lee              Ben Martin Law Group   3:23-cv-20917

23.     403326 May, Caleb Lee                Ben Martin Law Group   3:23-cv-21582

24.     403327 May, Sarah Jean               Ben Martin Law Group   3:23-cv-21575

25.     388330 Newton, Dustin Wayne          Ben Martin Law Group   3:23-cv-10847

26.     403366 Ortuno, Isaac                 Ben Martin Law Group   3:23-cv-21009

27.     403368 Padilla, Gabriel              Ben Martin Law Group   3:23-cv-21519

28.     403376 Pugel, Timothy Richard        Ben Martin Law Group   3:23-cv-21013

29.     403382 Ralston, Ashley Marie         Ben Martin Law Group   3:23-cv-21025

30.     403396 Rolland, Rees Alan            Ben Martin Law Group   3:23-cv-21047

31.     403404 Schimmel, Matthew David       Ben Martin Law Group   3:23-cv-21570

32.     403421 Smith, Terrance Timothy       Ben Martin Law Group   3:23-cv-21058

33.     403433 Taylor, Channing V            Ben Martin Law Group   3:23-cv-21060

34.     403438 Tillman, Melissa Latoya       Ben Martin Law Group   3:23-cv-21066

35.     403447 Wanket, Davis Andrew          Ben Martin Law Group   3:23-cv-21075

36.     403452 White, Samuel Raymond         Ben Martin Law Group   3:23-cv-21076
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                         Plaintiff Name               Law Firm Name
           ID                                                          Case Number
                                                 Charles E. Boyk Law
37.     392927 Cannell, Evan J                                         3:23-cv-21429
                                                    Offices, LLC
               Andrew, Tarik Novak
38.     396582                                         Cory Watson     3:23-cv-16246
               Omar
               Basaldua, Nicholas
39.     404930                                         Cory Watson     3:23-cv-21476
               Marguerit
40.     404884 Bonilla, Luis Dejesus                   Cory Watson     3:23-cv-21467

41.     393040 Gay, Ronald Barrymore                   Cory Watson     3:23-cv-12849

42.     381477 Goodman, Benjamin M                     Cory Watson     3:23-cv-12239

43.     396532 Haas, William Michael                   Cory Watson     3:23-cv-15933

44.     389018 Kirsch, Henry                           Cory Watson     3:23-cv-09978

45.     404866 Leatham, Kervin                         Cory Watson     3:23-cv-21458
                    Leffingwell, Kevin
46.     404054                                         Cory Watson     3:23-cv-19748
                    Michael
47.     381029 Leggans, Donald Andrew                  Cory Watson     3:23-cv-14667

48.     404876 Lucas, Matthew Gregory                  Cory Watson     3:23-cv-21466

49.     388613 Marchand, Brett William                 Cory Watson     3:23-cv-09432

50.     381353 Mathers, Justin Douglas                 Cory Watson     3:23-cv-14743

51.     396516 Music, Anthony Eugene                   Cory Watson     3:23-cv-15655

52.     404882 Nunn, Adonis Tyrees                     Cory Watson     3:23-cv-21464

53.     404893 Reynolds, Brian Hendrix                 Cory Watson     3:23-cv-21460
                    Robinson, John
54.     381499                                         Cory Watson     3:23-cv-16434
                    Christopher
      Case 3:19-md-02885-MCR-HTC Document 3806-1 Filed 08/25/23 Page 4 of 23

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                         Plaintiff Name               Law Firm Name
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55.     381564 Rodriguez, Jonathan                     Cory Watson        3:23-cv-15278

56.     398004 Sanderlin, Sean Michael                 Cory Watson        3:23-cv-18262

57.     380557 Simmons, Gaspar                         Cory Watson        3:23-cv-15297

58.     389019 Swan, Nicholas                          Cory Watson        3:23-cv-09977

59.     384219 Wasson, Brian Keith                     Cory Watson        3:23-cv-12928

60.     381098 Zeigler, Barbara Lilibeth               Cory Watson        3:23-cv-10892

61.     404899 Zeller, Constance Rene                  Cory Watson        3:23-cv-21462
                                               Heninger Garrison Davis,
62.     392845 Harris, Michael                                            3:23-cv-19378
                                                        LLC
                                               Heninger Garrison Davis,
63.     392846 Hayden, Jamohn                                             3:23-cv-19391
                                                        LLC
                                               Heninger Garrison Davis,
64.     392879 Ruesch, Christopher J                                      3:23-cv-19383
                                                        LLC
                                               Heninger Garrison Davis,
65.     392884 Stillman, Wendy Mariko                                     3:23-cv-19351
                                                        LLC
                                               Heninger Garrison Davis,
66.     392886 Winkle, Michael Roger                                      3:23-cv-19340
                                                        LLC
                    Olimpo, Alexander
67.     261899                                        Keller Postman      3:23-cv-21447
                    Homeres
68.     403769 Kozlowski, Joel                  Kirkendall Dwyer LLP      3:23-cv-19318
                                                  Laminack Pirtle &
69.     403847 Aleshire, Brian                                            3:23-cv-20742
                                                      Martines
                                                Law Offices of Donald
70.     379569 Brewster, James Lee                                        3:23-cv-21112
                                                  G. Norris, A Law
71.     404698 Rohm, Kevin                     Lockridge Grindal Nauen 3:23-cv-21129

72.     404699 Saulsbury, Ricardo              Lockridge Grindal Nauen 3:23-cv-21132
      Case 3:19-md-02885-MCR-HTC Document 3806-1 Filed 08/25/23 Page 5 of 23

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        Plaintiff                                                         Active Docket
                          Plaintiff Name               Law Firm Name
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                                                 MILBERG COLEMAN
73.     404810 Bonner, Johnny                                             3:23-cv-21292
                                                  BRYSON PHILLIPS
                                                 MILBERG COLEMAN
74.     398031 Mack, Ronald                                               3:23-cv-17126
                                                  BRYSON PHILLIPS
75.     387555 Augustus, Aaron                         Morris Bart, LLC   3:23-cv-15992

76.     387488 Causey, Jason                           Morris Bart, LLC   3:23-cv-15988

77.     387631 Humphrey, Sylvester                     Morris Bart, LLC   3:23-cv-15997

78.      51337      Lee, Terrell Elliott                 Mostyn Law       3:23-cv-20733

79.     404206 Ditmore, Tinothy                  Napoli Shkolnik PLLC     3:23-cv-20467

80.     404213 Sauceman, Columbus                Napoli Shkolnik PLLC     3:23-cv-20485

81.     404491 Abbey, Cecilia                    Parafinczuk Wolf, P.A.   3:23-cv-20005

82.     404510 Acosta Gonzales, David            Parafinczuk Wolf, P.A.   3:23-cv-19470

83.     216530 Aleman, Daniel                    Parafinczuk Wolf, P.A.   3:23-cv-19826

84.     394475 Armer, Jim                        Parafinczuk Wolf, P.A.   3:23-cv-13025

85.     389428 Bailey, Mardi L                   Parafinczuk Wolf, P.A.   3:23-cv-09804

86.     396138 Bernard, Kim                      Parafinczuk Wolf, P.A.   3:23-cv-13044

87.     393630 Black, William                    Parafinczuk Wolf, P.A.   3:23-cv-12425

88.     388521 Blackburn, Justin                 Parafinczuk Wolf, P.A.   3:23-cv-09270

89.     397954 Blackmon, Marcus                  Parafinczuk Wolf, P.A.   3:23-cv-16635

90.     393716 Bogan, Greg                       Parafinczuk Wolf, P.A.   3:23-cv-12246
      Case 3:19-md-02885-MCR-HTC Document 3806-1 Filed 08/25/23 Page 6 of 23

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                      Plaintiff Name               Law Firm Name
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91.     397948 Bouie, Michael                Parafinczuk Wolf, P.A.   3:23-cv-15454

92.     396093 Bravo, Miguel                 Parafinczuk Wolf, P.A.   3:23-cv-12844

93.     389076 Bray, Gregory                 Parafinczuk Wolf, P.A.   3:23-cv-08807

94.     404493 Brent, Lindemann              Parafinczuk Wolf, P.A.   3:23-cv-19564

95.     389460 Breuer, Greg                  Parafinczuk Wolf, P.A.   3:23-cv-09883

96.     393061 Brown, Brian                  Parafinczuk Wolf, P.A.   3:23-cv-11706

97.     404221 Brown, Jimmy                  Parafinczuk Wolf, P.A.   3:23-cv-19832

98.     396152 Brown, Kevin                  Parafinczuk Wolf, P.A.   3:23-cv-13263

99.     397845 Brown, Timothy                Parafinczuk Wolf, P.A.   3:23-cv-13454

100.    404508 Cain, John                    Parafinczuk Wolf, P.A.   3:23-cv-19476

101.    397911 Cairnes, Thomas               Parafinczuk Wolf, P.A.   3:23-cv-16154

102.    393033 Calhoun, Cedric               Parafinczuk Wolf, P.A.   3:23-cv-12324

103.    393051 Callison, Tonya               Parafinczuk Wolf, P.A.   3:23-cv-11719

104.    393636 Campos, Carlos                Parafinczuk Wolf, P.A.   3:23-cv-12326

105.    394462 Carter, Raymond               Parafinczuk Wolf, P.A.   3:23-cv-12832

106.    393723 Casteel, Andrew               Parafinczuk Wolf, P.A.   3:23-cv-12250

107.    389529 Castillo, Michael             Parafinczuk Wolf, P.A.   3:23-cv-09805

108.    397855 Cave, Ellery                  Parafinczuk Wolf, P.A.   3:23-cv-16510
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                     Plaintiff Name               Law Firm Name
          ID                                                         Case Number
109.   396095 Cerda, Nicolas                Parafinczuk Wolf, P.A.   3:23-cv-12859

110.   404483 Chain, Joseph A               Parafinczuk Wolf, P.A.   3:23-cv-20076

111.   404231 Cisneros, Jorge               Parafinczuk Wolf, P.A.   3:23-cv-19844

112.   393639 Cissell, Charles              Parafinczuk Wolf, P.A.   3:23-cv-11141

113.   389427 Colby, William                Parafinczuk Wolf, P.A.   3:23-cv-09825

114.   388119 Cookson, Jacob                Parafinczuk Wolf, P.A.   3:23-cv-08745

115.   397899 Correa, Manuel                Parafinczuk Wolf, P.A.   3:23-cv-16639

116.   389483 Couch, Shawn                  Parafinczuk Wolf, P.A.   3:23-cv-09922

117.   404487 Cowart, James                 Parafinczuk Wolf, P.A.   3:23-cv-20035

118.   396141 Crawford, Hope                Parafinczuk Wolf, P.A.   3:23-cv-13054

119.   397928 Crayton, Aaron                Parafinczuk Wolf, P.A.   3:23-cv-15808

120.   397912 Crespo, John                  Parafinczuk Wolf, P.A.   3:23-cv-15817

121.   396081 Cruz, Robert                  Parafinczuk Wolf, P.A.   3:23-cv-12565

122.   393034 Dahl, Benjamin                Parafinczuk Wolf, P.A.   3:23-cv-12333

123.   394514 Daugherty, Blake              Parafinczuk Wolf, P.A.   3:23-cv-13072

124.   404197 De La O, James                Parafinczuk Wolf, P.A.   3:23-cv-19565

125.   389473 Deal, Robert E                Parafinczuk Wolf, P.A.   3:23-cv-09914

126.   394515 Delifus, David                Parafinczuk Wolf, P.A.   3:23-cv-13073
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       Plaintiff                                                     Active Docket
                     Plaintiff Name               Law Firm Name
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127.   397874 Dipko, Jacqulyn               Parafinczuk Wolf, P.A.   3:23-cv-16641

128.   394469 Dorris, Carl                  Parafinczuk Wolf, P.A.   3:23-cv-12914

129.   394527 Douthit, Eliot                Parafinczuk Wolf, P.A.   3:23-cv-12833

130.   393726 Drevecky, Chris               Parafinczuk Wolf, P.A.   3:23-cv-12251

131.   389423 Driver, Daniel                Parafinczuk Wolf, P.A.   3:23-cv-09827

132.   404257 Duggan, David                 Parafinczuk Wolf, P.A.   3:23-cv-20111

133.   404488 Dunn, Wynton                  Parafinczuk Wolf, P.A.   3:23-cv-20027

134.   397957 Dyer, Ashley                  Parafinczuk Wolf, P.A.   3:23-cv-15827

135.   389484 Easley, Gary                  Parafinczuk Wolf, P.A.   3:23-cv-09923

136.   404205 Eastwood, Clinton             Parafinczuk Wolf, P.A.   3:23-cv-19570

137.   393035 Eberle, Joshua                Parafinczuk Wolf, P.A.   3:23-cv-12334

138.   389410 Echevarria, Manuel            Parafinczuk Wolf, P.A.   3:23-cv-09324

139.   396099 Eissler, Larry                Parafinczuk Wolf, P.A.   3:23-cv-12870

140.   389491 Evans, Fredrick               Parafinczuk Wolf, P.A.   3:23-cv-09924

141.   404489 Eveland, Justin               Parafinczuk Wolf, P.A.   3:23-cv-20014

142.   394480 Fireshaker, Justin            Parafinczuk Wolf, P.A.   3:23-cv-13030

143.   394419 Flores, Armando               Parafinczuk Wolf, P.A.   3:23-cv-12381

144.   393082 Flowers, Rontenez             Parafinczuk Wolf, P.A.   3:23-cv-11247
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145.   404227 Fogle, Krashawn               Parafinczuk Wolf, P.A.   3:23-cv-19953

146.   394433 Foreshee, Robert              Parafinczuk Wolf, P.A.   3:23-cv-12541

147.   394516 Fox, Robert                   Parafinczuk Wolf, P.A.   3:23-cv-13074

148.   393640 France, Lorenzo               Parafinczuk Wolf, P.A.   3:23-cv-11254

149.   389485 Gaither, Aubrey               Parafinczuk Wolf, P.A.   3:23-cv-09931

150.   389438 Garcia, Albert                Parafinczuk Wolf, P.A.   3:23-cv-09407

151.   397930 Garcia, Anthony               Parafinczuk Wolf, P.A.   3:23-cv-15464

152.   397938 Garrick, Jason                Parafinczuk Wolf, P.A.   3:23-cv-15489

153.   396102 Gates, Deshonna               Parafinczuk Wolf, P.A.   3:23-cv-12878

154.   394442 Gaudet, Ross                  Parafinczuk Wolf, P.A.   3:23-cv-12572

155.   396142 Gentry, Bobby                 Parafinczuk Wolf, P.A.   3:23-cv-13056

156.   396082 Gidden, Shaun G               Parafinczuk Wolf, P.A.   3:23-cv-12567

157.   396083 Gilder, Michael G             Parafinczuk Wolf, P.A.   3:23-cv-12575

158.   396143 Gill, Desirae                 Parafinczuk Wolf, P.A.   3:23-cv-13095

159.   404520 Girley, Ryan                  Parafinczuk Wolf, P.A.   3:23-cv-19656

160.   389422 Godinez, Juan                 Parafinczuk Wolf, P.A.   3:23-cv-09329

161.   394421 Gray, Natasha                 Parafinczuk Wolf, P.A.   3:23-cv-12420

162.   397904 Grifaldo, Margoritto          Parafinczuk Wolf, P.A.   3:23-cv-16188
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163.   393000 Grissom, Bronnie              Parafinczuk Wolf, P.A.   3:23-cv-12338

164.   396103 Gurney, Joseph                Parafinczuk Wolf, P.A.   3:23-cv-12881

165.   404222 Hambly, James                 Parafinczuk Wolf, P.A.   3:23-cv-19955

166.   389439 Hammer, Adam                  Parafinczuk Wolf, P.A.   3:23-cv-09517

167.   393006 Hardy, Vince                  Parafinczuk Wolf, P.A.   3:23-cv-12339

168.   389499 Harkcom, Steven J             Parafinczuk Wolf, P.A.   3:23-cv-09830

169.   389521 Hassan, Jackson               Parafinczuk Wolf, P.A.   3:23-cv-09391

170.   393052 Holweger, Robert              Parafinczuk Wolf, P.A.   3:23-cv-11745

171.   396155 Hood, Joseph                  Parafinczuk Wolf, P.A.   3:23-cv-13418

172.   396084 Horne, Rashard                Parafinczuk Wolf, P.A.   3:23-cv-12577

173.   393077 Horton, Brentley              Parafinczuk Wolf, P.A.   3:23-cv-11261

174.   389440 Howard, Richard               Parafinczuk Wolf, P.A.   3:23-cv-09518

175.   393017 Huff, Robert                  Parafinczuk Wolf, P.A.   3:23-cv-12341

176.   392920 Huggins, William              Parafinczuk Wolf, P.A.   3:23-cv-12432

177.   394453 Iiii, Hurdis                  Parafinczuk Wolf, P.A.   3:23-cv-12806

178.   396105 Jackson, Daron J              Parafinczuk Wolf, P.A.   3:23-cv-12887

179.   397876 Jaff, Anis Jabar              Parafinczuk Wolf, P.A.   3:23-cv-16647

180.   404243 James, Jacob                  Parafinczuk Wolf, P.A.   3:23-cv-20387
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181.   396156 Jenkins, Brandon             Parafinczuk Wolf, P.A.   3:23-cv-13421

182.   393708 Johnson, Steven              Parafinczuk Wolf, P.A.   3:23-cv-10254

183.   396218 Jone, Kelly                  Parafinczuk Wolf, P.A.   3:23-cv-14131

184.   404497 Jones, Barry                 Parafinczuk Wolf, P.A.   3:23-cv-19540

185.   394521 Jones, Pernell               Parafinczuk Wolf, P.A.   3:23-cv-13081

186.   392914 Jones, Robert                Parafinczuk Wolf, P.A.   3:23-cv-12433

187.   397917 Jones, Ula                   Parafinczuk Wolf, P.A.   3:23-cv-15878

188.   394454 Joseph, Wanisha              Parafinczuk Wolf, P.A.   3:23-cv-12809

189.   392906 Kaufold, Brandon             Parafinczuk Wolf, P.A.   3:23-cv-12467

190.   396186 Kerr, Timothy                Parafinczuk Wolf, P.A.   3:23-cv-13434

191.   396108 Kingston, John               Parafinczuk Wolf, P.A.   3:23-cv-12896

192.   397837 Kinnard, Charles             Parafinczuk Wolf, P.A.   3:23-cv-13378

193.   396091 Kirk, Lloyd                  Parafinczuk Wolf, P.A.   3:23-cv-12580

194.   397836 Klapp, Adam                  Parafinczuk Wolf, P.A.   3:23-cv-13162

195.   394443 Knot, Scott                  Parafinczuk Wolf, P.A.   3:23-cv-12574

196.   394422 Knox, Ronald                 Parafinczuk Wolf, P.A.   3:23-cv-12519

197.   396158 Larson, Gary                 Parafinczuk Wolf, P.A.   3:23-cv-13995

198.   396109 Leslie, Cord                 Parafinczuk Wolf, P.A.   3:23-cv-12898
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199.   389522 Lewis, Cody                  Parafinczuk Wolf, P.A.   3:23-cv-09410

200.   393046 Lloyd, Robert                Parafinczuk Wolf, P.A.   3:23-cv-11747

201.   394471 Lollar, Cody                 Parafinczuk Wolf, P.A.   3:23-cv-12918

202.   397879 Maddox, Ervin                Parafinczuk Wolf, P.A.   3:23-cv-16653

203.   397953 Malacara, Adam               Parafinczuk Wolf, P.A.   3:23-cv-16656

204.   393036 Mas, Cesar                   Parafinczuk Wolf, P.A.   3:23-cv-11755

205.   396144 Mason, Darin                 Parafinczuk Wolf, P.A.   3:23-cv-13099

206.   404209 Mason, Douglas               Parafinczuk Wolf, P.A.   3:23-cv-19660

207.   396225 Mayengo, Joseph K            Parafinczuk Wolf, P.A.   3:23-cv-06520

208.   389500 Mcclease, Macon              Parafinczuk Wolf, P.A.   3:23-cv-09833

209.   394510 Merrifield, Marlando         Parafinczuk Wolf, P.A.   3:23-cv-13045

210.   396045 Messer, Brandon              Parafinczuk Wolf, P.A.   3:23-cv-12581

211.   397940 Miranda-Rosado, Isreal       Parafinczuk Wolf, P.A.   3:23-cv-15515

212.   396111 Momoh, Miesha                Parafinczuk Wolf, P.A.   3:23-cv-12900

213.   394539 Moody, James                 Parafinczuk Wolf, P.A.   3:23-cv-13048

214.   404512 Moore, Cornelius             Parafinczuk Wolf, P.A.   3:23-cv-19145

215.   404513 Moore, Jesse                 Parafinczuk Wolf, P.A.   3:23-cv-19133

216.   397906 Moore, Linda                 Parafinczuk Wolf, P.A.   3:23-cv-16206
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217.   404247 Morel, Michael Gregory       Parafinczuk Wolf, P.A.   3:23-cv-20202

218.   404499 Morfin, Urban                Parafinczuk Wolf, P.A.   3:23-cv-19510

219.   393735 Morgan, Terrance             Parafinczuk Wolf, P.A.   3:23-cv-12268

220.   404495 Moynihan, Sean               Parafinczuk Wolf, P.A.   3:23-cv-19548

221.   404496 Mumbata, Ngbandu D           Parafinczuk Wolf, P.A.   3:23-cv-19544

222.   389479 Murphy, Robert James         Parafinczuk Wolf, P.A.   3:23-cv-10054

223.   393631 Myers, Jonathon              Parafinczuk Wolf, P.A.   3:23-cv-12438

224.   404521 Nations, Christopher         Parafinczuk Wolf, P.A.   3:23-cv-19713

225.   393039 Nelson, Katherina            Parafinczuk Wolf, P.A.   3:23-cv-11760

226.   396222 Nnamani, Franklin            Parafinczuk Wolf, P.A.   3:23-cv-14156

227.   389495 Ogletree, Robert             Parafinczuk Wolf, P.A.   3:23-cv-09839

228.   389496 Olden, Leonard               Parafinczuk Wolf, P.A.   3:23-cv-09840

229.   396049 Ollendick, Andrew            Parafinczuk Wolf, P.A.   3:23-cv-12595

230.   404492 Onezine, Quinton             Parafinczuk Wolf, P.A.   3:23-cv-19576

231.   397956 Ortega, Jorge                Parafinczuk Wolf, P.A.   3:23-cv-16226

232.   394434 Ortiz, Jose                  Parafinczuk Wolf, P.A.   3:23-cv-12544

233.   388523 Ott, Mark                    Parafinczuk Wolf, P.A.   3:23-cv-09275

234.   394511 Palmisano, Timothy           Parafinczuk Wolf, P.A.   3:23-cv-13052
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       Plaintiff                                                      Active Docket
                     Plaintiff Name                Law Firm Name
          ID                                                          Case Number
235.   396145 Palomino, Brandon              Parafinczuk Wolf, P.A.   3:23-cv-13102

236.   393712 Parker, Anthony                Parafinczuk Wolf, P.A.   3:23-cv-12241

237.   393055 Parker, James                  Parafinczuk Wolf, P.A.   3:23-cv-11761

238.   394464 Patterson, Chaz                Parafinczuk Wolf, P.A.   3:23-cv-12839

239.   389435 Patterson, Justin              Parafinczuk Wolf, P.A.   3:23-cv-09398

240.   394435 Payne, Clifford                Parafinczuk Wolf, P.A.   3:23-cv-12548

241.   397838 Pearson, Darrius               Parafinczuk Wolf, P.A.   3:23-cv-13394

242.   396113 Penrod, Kylann                 Parafinczuk Wolf, P.A.   3:23-cv-12903

243.   396115 Perez, Edward                  Parafinczuk Wolf, P.A.   3:23-cv-12908

244.   396117 Perez, Randel                  Parafinczuk Wolf, P.A.   3:23-cv-12913

245.   397883 Peterson, Christopher          Parafinczuk Wolf, P.A.   3:23-cv-16658

246.   396194 Peterson, Ricardo              Parafinczuk Wolf, P.A.   3:23-cv-14175

247.   404251 Pieters, Laurens Frits         Parafinczuk Wolf, P.A.   3:23-cv-20164

248.   394438 Pinder, Adam                   Parafinczuk Wolf, P.A.   3:23-cv-12558

249.   396187 Plascjak, William              Parafinczuk Wolf, P.A.   3:23-cv-14012

250.   393042 Plaugher, Christopher          Parafinczuk Wolf, P.A.   3:23-cv-11764

251.   397839 Policarpio, Lorenz             Parafinczuk Wolf, P.A.   3:23-cv-13399

252.   389447 Pollard, Marcus                Parafinczuk Wolf, P.A.   3:23-cv-09524
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                    Plaintiff Name               Law Firm Name
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253.   396188 Pulver, Edward               Parafinczuk Wolf, P.A.   3:23-cv-14018

254.   394465 Purdy, Michael               Parafinczuk Wolf, P.A.   3:23-cv-12845

255.   394537 Quiorz, Richard              Parafinczuk Wolf, P.A.   3:23-cv-12922

256.   393026 Rabara, Timothy              Parafinczuk Wolf, P.A.   3:23-cv-12351

257.   397942 Rafferty, Sage               Parafinczuk Wolf, P.A.   3:23-cv-15521

258.   394524 Raimer, Michael              Parafinczuk Wolf, P.A.   3:23-cv-12578

259.   396146 Ramos, Gene                  Parafinczuk Wolf, P.A.   3:23-cv-13105

260.   393638 Reid, Ricky                  Parafinczuk Wolf, P.A.   3:23-cv-11765

261.   388524 Reyes, James                 Parafinczuk Wolf, P.A.   3:23-cv-09277

262.   396195 Richardson, Damian           Parafinczuk Wolf, P.A.   3:23-cv-14176

263.   396223 Riddick, Stephen             Parafinczuk Wolf, P.A.   3:23-cv-14177

264.   397811 Riggs, Anthony               Parafinczuk Wolf, P.A.   3:23-cv-12474

265.   394425 Rihel, Cory                  Parafinczuk Wolf, P.A.   3:23-cv-12529

266.   404230 Ritter, Timothy              Parafinczuk Wolf, P.A.   3:23-cv-19963

267.   393071 Rizer, Robert                Parafinczuk Wolf, P.A.   3:23-cv-11475

268.   404482 Robb, Eric                   Parafinczuk Wolf, P.A.   3:23-cv-20085

269.   394529 Robinson, Jason              Parafinczuk Wolf, P.A.   3:23-cv-12861

270.   393641 Robinson, Ryan               Parafinczuk Wolf, P.A.   3:23-cv-11427
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                    Plaintiff Name               Law Firm Name
          ID                                                        Case Number
271.   404502 Rodgers, Jason C             Parafinczuk Wolf, P.A.   3:23-cv-19499

272.   404504 Rodriguez Bell, Rebecca      Parafinczuk Wolf, P.A.   3:23-cv-19493

273.   389524 Rodriguez, Marcel            Parafinczuk Wolf, P.A.   3:23-cv-09868

274.   404506 Ross, Matthew                Parafinczuk Wolf, P.A.   3:23-cv-19483

275.   394426 Ross, Richard                Parafinczuk Wolf, P.A.   3:23-cv-12533

276.   393634 Rugley, Jason                Parafinczuk Wolf, P.A.   3:23-cv-12357

277.   397842 Sanchez, Carlos              Parafinczuk Wolf, P.A.   3:23-cv-13422

278.   396120 Sanchez, Paul                Parafinczuk Wolf, P.A.   3:23-cv-13059

279.   396087 Santana, Jose                Parafinczuk Wolf, P.A.   3:23-cv-12597

280.   404486 Schwartz, Brent              Parafinczuk Wolf, P.A.   3:23-cv-20040

281.   396148 Secrest, Daniel              Parafinczuk Wolf, P.A.   3:23-cv-13279

282.   404517 Shafer, Zachary              Parafinczuk Wolf, P.A.   3:23-cv-19664

283.   397886 Shepard, Brittany            Parafinczuk Wolf, P.A.   3:23-cv-16660

284.   404192 Shropshire, Darius           Parafinczuk Wolf, P.A.   3:23-cv-19665

285.   394416 Simmons, Michael             Parafinczuk Wolf, P.A.   3:23-cv-12361

286.   404220 Singleton, Antonio           Parafinczuk Wolf, P.A.   3:23-cv-19965

287.   394473 Skaggs, Gary                 Parafinczuk Wolf, P.A.   3:23-cv-12929

288.   404248 Skop, Robert                 Parafinczuk Wolf, P.A.   3:23-cv-20194
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                     Plaintiff Name               Law Firm Name
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289.   393050 Smock, Vanessa                Parafinczuk Wolf, P.A.   3:23-cv-11766

290.   396088 Souvanh, Dendy                Parafinczuk Wolf, P.A.   3:23-cv-12598

291.   404225 Spear, Daniel Scott           Parafinczuk Wolf, P.A.   3:23-cv-19966

292.   404515 Spurlock, John Michael        Parafinczuk Wolf, P.A.   3:23-cv-19084

293.   388526 Starling, Billy               Parafinczuk Wolf, P.A.   3:23-cv-09280

294.   404196 Sterling-Jones, Loniel        Parafinczuk Wolf, P.A.   3:23-cv-19667

295.   394444 Steward, Robert               Parafinczuk Wolf, P.A.   3:23-cv-12799

296.   397944 Stinebaugh, Loren             Parafinczuk Wolf, P.A.   3:23-cv-15530

297.   392996 Street, Edward                Parafinczuk Wolf, P.A.   3:23-cv-12457

298.   397984 Suazo, Freddy                 Parafinczuk Wolf, P.A.   3:23-cv-13068

299.   404507 Sutton, Danny R               Parafinczuk Wolf, P.A.   3:23-cv-19479

300.   392911 Syphus, Steven                Parafinczuk Wolf, P.A.   3:23-cv-12458

301.   404490 Tabares, Brandon              Parafinczuk Wolf, P.A.   3:23-cv-20008

302.   404219 Tappe, Ian                    Parafinczuk Wolf, P.A.   3:23-cv-19668

303.   404240 Taylor, Donald                Parafinczuk Wolf, P.A.   3:23-cv-20395

304.   396050 Taylor, Jeremiah              Parafinczuk Wolf, P.A.   3:23-cv-12599

305.   404518 Taylor, Robert J              Parafinczuk Wolf, P.A.   3:23-cv-19671

306.   389469 Taylor, Tashon                Parafinczuk Wolf, P.A.   3:23-cv-09900
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                    Plaintiff Name               Law Firm Name
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307.   404241 Tewksbury, Kenneth           Parafinczuk Wolf, P.A.   3:23-cv-20388

308.   397945 Thomas, Clint                Parafinczuk Wolf, P.A.   3:23-cv-15534

309.   394540 Tigler, Metia                Parafinczuk Wolf, P.A.   3:23-cv-13060

310.   404245 Trainer, Blake               Parafinczuk Wolf, P.A.   3:23-cv-20378

311.   396089 Tuifagu, Andy                Parafinczuk Wolf, P.A.   3:23-cv-12601

312.   404255 Turner, Justin               Parafinczuk Wolf, P.A.   3:23-cv-20140

313.   404256 Turner, Kisha                Parafinczuk Wolf, P.A.   3:23-cv-20134

314.   396137 Wadsworth, Thomas            Parafinczuk Wolf, P.A.   3:23-cv-13071

315.   404223 Ward, Chris                  Parafinczuk Wolf, P.A.   3:23-cv-19971

316.   397844 Waters, Robert               Parafinczuk Wolf, P.A.   3:23-cv-13446

317.   394522 Westbrook, David             Parafinczuk Wolf, P.A.   3:23-cv-12551

318.   394436 Westfall, Kyle A             Parafinczuk Wolf, P.A.   3:23-cv-12553

319.   404233 Westrup, Richard             Parafinczuk Wolf, P.A.   3:23-cv-19973

320.   396149 White, Andrew                Parafinczuk Wolf, P.A.   3:23-cv-13282

321.   393622 Wilkinson, James             Parafinczuk Wolf, P.A.   3:23-cv-10922

322.   393084 Willard, Mark Anthony        Parafinczuk Wolf, P.A.   3:23-cv-11470

323.   404200 William, Granger             Parafinczuk Wolf, P.A.   3:23-cv-19657

324.   404232 Williams, Joshua             Parafinczuk Wolf, P.A.   3:23-cv-19974
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                    Plaintiff Name               Law Firm Name
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325.   389402 Williams, Rockford           Parafinczuk Wolf, P.A.   3:23-cv-09323

326.   396150 Wise, Shane                  Parafinczuk Wolf, P.A.   3:23-cv-13283

327.   396090 Wysingle, Patrick            Parafinczuk Wolf, P.A.   3:23-cv-12603

328.   393032 Yakle, Josh                  Parafinczuk Wolf, P.A.   3:23-cv-12360

329.   396053 Yearing, Justin              Parafinczuk Wolf, P.A.   3:23-cv-12604

330.   404484 Youdell, Thomas              Parafinczuk Wolf, P.A.   3:23-cv-20064

331.   394474 Yzaguirre, Christopher       Parafinczuk Wolf, P.A.   3:23-cv-12932

332.   393058 Zepp, Andrew                 Parafinczuk Wolf, P.A.   3:23-cv-11769

333.   396197 Zlamal, Daniel               Parafinczuk Wolf, P.A.   3:23-cv-14180

334.   404534 Collins, Jon                       Price Armstrong    3:23-cv-20998

335.   404032 Woolard, Joshua                    Price Armstrong    3:23-cv-20993

336.   396009 Ball, Travis                Pulaski Law Firm, PLLC 3:23-cv-18394

337.   396006 Bergman, Justin             Pulaski Law Firm, PLLC 3:23-cv-18391

338.   396005 Caldwell, Joshua            Pulaski Law Firm, PLLC 3:23-cv-18388

339.   395999 Camarano, Jesse             Pulaski Law Firm, PLLC 3:23-cv-18307

340.   396644 Cassetty, Robert            Pulaski Law Firm, PLLC 3:23-cv-19624

341.   395029 Chitty, Tony                Pulaski Law Firm, PLLC 3:23-cv-17394

342.   391083 Coke, Don                   Pulaski Law Firm, PLLC 3:23-cv-15152
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343.   396015 Craft, Christopher           Pulaski Law Firm, PLLC 3:23-cv-18406

344.   396011 Darby, Brittani              Pulaski Law Firm, PLLC 3:23-cv-18397

345.   395975 Debeer, Cris                 Pulaski Law Firm, PLLC 3:23-cv-17957

346.   396002 Delve, Andino                Pulaski Law Firm, PLLC 3:23-cv-18368

347.   395996 Denker, Chris                Pulaski Law Firm, PLLC 3:23-cv-18280

348.   397615 Dennis, Kenneth              Pulaski Law Firm, PLLC 3:23-cv-20752

349.   396013 Eagen, Meredith              Pulaski Law Firm, PLLC 3:23-cv-18404

350.   395973 Eddy, Josh                   Pulaski Law Firm, PLLC 3:23-cv-17949

351.   397480 Eldridge, Steven             Pulaski Law Firm, PLLC 3:23-cv-20337

352.   200883 Eskew, Gary Michael          Pulaski Law Firm, PLLC 3:23-cv-20636

353.   390534 Fletcher, Michael            Pulaski Law Firm, PLLC 3:23-cv-12755

354.   395983 Garcia, Benjamin             Pulaski Law Firm, PLLC 3:23-cv-18063

355.   396004 Guzman, Camilo               Pulaski Law Firm, PLLC 3:23-cv-18382

356.   395998 Haggard, Jason               Pulaski Law Firm, PLLC 3:23-cv-18297

357.   395736 Igel, Alex                   Pulaski Law Firm, PLLC 3:23-cv-17808

358.   395995 Jackson, Carlo               Pulaski Law Firm, PLLC 3:23-cv-18248

359.   395986 Johnston, Jeffrey            Pulaski Law Firm, PLLC 3:23-cv-18230

360.   395994 Kimble, Ryan                 Pulaski Law Firm, PLLC 3:23-cv-18243
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361.   396014 Lehman, Nickolas            Pulaski Law Firm, PLLC 3:23-cv-18405

362.   396626 Lilly, Antwan               Pulaski Law Firm, PLLC 3:23-cv-20025

363.   396012 Lo, Jonathan                Pulaski Law Firm, PLLC 3:23-cv-18401

364.   395993 Marfongelli, Nick           Pulaski Law Firm, PLLC 3:23-cv-18235

365.   390524 Mcneill, Michael            Pulaski Law Firm, PLLC 3:23-cv-12742

366.   393748 Meyers, Robert              Pulaski Law Firm, PLLC 3:23-cv-17161

367.   395979 Moore, Samuel               Pulaski Law Firm, PLLC 3:23-cv-18032

368.   395974 Morales, Vincent            Pulaski Law Firm, PLLC 3:23-cv-17954

369.   395992 Murphy, Mary                Pulaski Law Firm, PLLC 3:23-cv-18223

370.   395931 Nelson, Lawrence            Pulaski Law Firm, PLLC 3:23-cv-19064

371.   395991 Odell, Kyle                 Pulaski Law Firm, PLLC 3:23-cv-18431

372.   396003 Oliver, Austin              Pulaski Law Firm, PLLC 3:23-cv-18370

373.   396000 Olvera, Pablo               Pulaski Law Firm, PLLC 3:23-cv-18320

374.   396663 Phillips, Timothy           Pulaski Law Firm, PLLC 3:23-cv-20445

375.   396008 Pritchard, Tolopa           Pulaski Law Firm, PLLC 3:23-cv-18393

376.   396001 Proud, Terry                Pulaski Law Firm, PLLC 3:23-cv-18325

377.   395997 Ramirez, Edgar              Pulaski Law Firm, PLLC 3:23-cv-18287

378.   395976 Simmons, Christopher        Pulaski Law Firm, PLLC 3:23-cv-17982
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379.   397747 Smith, Timothy                  Pulaski Law Firm, PLLC 3:23-cv-20856

380.   396662 Turner, Timothy                 Pulaski Law Firm, PLLC 3:23-cv-20443

381.   396010 Valentin, Armando               Pulaski Law Firm, PLLC 3:23-cv-18396

382.   395985 Valentin, Yafael                Pulaski Law Firm, PLLC 3:23-cv-18221

383.   396007 Vollmar, Thomas                 Pulaski Law Firm, PLLC 3:23-cv-18392

384.   394423 Walton, James                   Pulaski Law Firm, PLLC 3:23-cv-13355

385.   395990 Wilson, Tim                     Pulaski Law Firm, PLLC 3:23-cv-18389

386.   403812 Bryce, James                       Seeger Weiss LLP     3:23-cv-18762

387.   404157 Denny, Robert                      Seeger Weiss LLP     3:23-cv-19454

388.   404145 Edwards, Gary                      Seeger Weiss LLP     3:23-cv-19571

389.   404634 Goldsworthy, Jeremiah              Seeger Weiss LLP     3:23-cv-19790

390.   403696 Mcclain, Charles                   Seeger Weiss LLP     3:23-cv-17894

391.   403708 Merritt, Marlon                    Seeger Weiss LLP     3:23-cv-18014

392.    81979      Natanson, Christian           Seeger Weiss LLP     3:23-cv-20532

393.   404127 Puljanowski, John                  Seeger Weiss LLP     3:23-cv-19296

394.   404564 Shanklin, Herschel                 Seeger Weiss LLP     3:23-cv-20357

395.   396057 Baldwin, Dimitria                Simmons Hanly Conroy   3:23-cv-12492

396.   396069 May, David                       Simmons Hanly Conroy   3:23-cv-13692
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       Plaintiff                                                       Active Docket
                        Plaintiff Name               Law Firm Name
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397.   405005 Cronin, Jessica                   The Carlson Law Firm   3:23-cv-21452

398.   405072 Pilon, Scott                      The Carlson Law Firm   3:23-cv-21576
                                               The Kuykendall Group
399.   393645 Caraway, James                                           3:23-cv-14023
                                                       LLc
400.   389978 Anderson, Ehrin                  Tracey & Fox Law Firm 3:23-cv-12280

401.   389722 Calcutt, Christopher             Tracey & Fox Law Firm 3:23-cv-12185

402.   389725 Enriquez, Nicholas               Tracey & Fox Law Firm 3:23-cv-12277

403.   389729 Foo, Joe                         Tracey & Fox Law Firm 3:23-cv-12284

404.   389727 Lacas, John                      Tracey & Fox Law Firm 3:23-cv-12274
                   Manigault, Dominque
405.   389718                                  Tracey & Fox Law Firm 3:23-cv-12282
                   Orlando
406.   389714 Reyes, Edgar                     Tracey & Fox Law Firm 3:23-cv-12184

407.   393632 Searle, Ryan                     Tracey & Fox Law Firm 3:23-cv-13326

408.   390247 Sibley, Daryl                    Tracey & Fox Law Firm 3:23-cv-12144

409.   389724 Williams, Cordell                Tracey & Fox Law Firm 3:23-cv-12270
